CASE 0:24-cv-04452-JRT-JFD Doc.17 Filed 04/21/25 Pageiof1

24-CV-04452-JRT-JFD
Honorable Judge Tunhaim and/or Honorable Judge Docherty,
Re: Serving FAA as Party of Interest, and Extension for filling.

I have now served the Defendant all the paperworks filled with the court. Also, I served
the Party of interest, FAA, through their local office, Flight Standard District Office (FSDO),
Minneapolis. I reviewed the local rules and Rule 15 (c) (2) says that when the United States and
its agencies are added as a defendant, the Attorney General or US Attorney should be served.
But, in this case, FAA is not a defendant, only a party of interest. The Rules are silent on adding
a party of interest. Therefore, I served them directly so they can determine for themselves if they
have an interest to get involved or no. I don’t think the US Attorney or Attorney General can
make the decision if FAA has interest or not, so I served the FAA directly.

On the other hand, the Defendant contacted me on Friday by phone through their attorney
Kurt Schlueter, from Fitzpatrick, Hunt and Pagano LLP. They asked for a 30 days extension for
their response. When it comes to the facts, I believe the truth is one and cannot be banded no
matter how much one is trying to alter the facts. When it comes to the law, if one needs more
time to research the law, I believe that should be freely granted as the ultimate goal of any
litigation is and should be the law to prevail.

Therefore, I have agreed to give them a 30 days extension to file their answer and other
responsive documents, or until May 26th, 2025. In return, I have asked and the Defendant has
given a written consent [See Rule 15 (a) (2)] that I can also file a Second Amended Complaint
with new Brief/Exhibits/A ffidavits on or before May 12th, 2025-14 days backward in line of
Rule 15 (a)(3). The Defendant has given me written consent for that. Please see Exhibit 1.

Thank you very much for your attention!
Yours sincerely,

Darko Pavlovski c Yio
04/21/2025 05/21/2025

CC: Brian Maye at brianmaye@fitzhunt.com and Kurt Schlueter at kurt.shlueter@fitzhunt.com

SCANNED RECEIVED

APR 22 2025 ( APR 2 1 2025

US, DISTRICT COURT MPLS} CLERK, U.S. DISTRICT COURT
MINNEAPOLIS, MINNESOTA

